      Case 3:16-md-02741-VC           Document 20370         Filed 03/20/25      Page 1 of 4




                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        PRETRIAL ORDER NO. 317: ORDER
                                                    DENYING MONSANTO’S MOTION
   Fleischhauer v. Monsanto Co.,                    TO EXCLUDE EXPERT LEVIN
   Case No. 3:21-cv-05971-VC
                                                    Re: Dkt. No. 18974
   Hayes v. Monsanto Co.,
   Case No. 3:21-cv-05398-VC

   Finnell v. Monsanto Co.,
   Case No. 3:20-cv-02419-VC

   Beisner v. Monsanto Co.,
   Case No. 3:20-cv-00056-VC

   Bodie v. Monsanto Co.,
   Case No. 3:20-cv-00057-VC


       There is a recurring problem with Monsanto’s motions to exclude expert opinions

relating to causation. An example is the present motion to exclude the testimony of Dr. Mark

Levin. Monsanto’s counsel (as well as all counsel for the plaintiffs) are encouraged to read this

ruling carefully so they can avoid this problem in the future.

       This multi-district litigation involves thousands of individual tort cases. For every case,

each side puts forward multiple expert opinions on the issue of causation. And it seems like

Monsanto has been moving to exclude pretty much every expert offered by pretty much every
plaintiff. That’s fine. But obviously this Court cannot hold a Daubert hearing on every motion
      Case 3:16-md-02741-VC           Document 20370          Filed 03/20/25      Page 2 of 4




filed in every case. Nor would it be practical or efficient to defer adjudication of those motions

until after cases are remanded to their home districts for trial. This Court has developed

substantial expertise on the issue. Beyond that, the Court would be precluded from ruling on

summary judgment if it refrained from adjudicating Daubert motions relating to causation.

       In a context like this, if a party plans to seek exclusion of an expert opinion, it cannot

assume there will be a Daubert hearing. The expert’s deposition therefore becomes even more

important than usual. It is the key event. The attorney who takes the deposition must give the

expert a full opportunity to explain their opinion and identify the material it’s based on. The

attorney must identify any perceived flaws in the expert’s opinion and give the expert an

opportunity to address them.

       If it’s clear from the deposition transcript that the expert is unqualified, or doesn’t know

the material they need to be familiar with, or has otherwise offered an invalid opinion, the expert

will be excluded. They will not have an opportunity for rehabilitation at a Daubert hearing. If

serious questions remain about the validity of the expert’s opinion after the deposition, the Court

will schedule a Daubert hearing. But if the party seeking exclusion fails to develop the record in

a way that enables the Court to meaningfully assess the expert’s opinion, the motion to exclude

that opinion will simply be denied.

       And that’s why Monsanto cannot prevail in its motion to exclude Levin’s opinion.1 The
motion barely discussed Levin’s deposition testimony (and does not mention any aspect of his

testimony about general causation). Instead, Monsanto primarily attacks Levin’s expert report,

arguing that the report fails to grapple adequately with various issues. But as discussed in a

previous ruling, the purpose of the expert report is not to analyze every potential flaw in every

potential study and explain in detail where the expert comes out on it. See Pretrial Order No. 313

(Dkt. No. 20337) at 2–3. The purpose of the report is to put the other side on notice of the


1
 Monsanto originally filed its motion against five plaintiffs. Three of those plaintiffs (Finnell,
Beisner, and Bodie) filed notices of settlement after Monsanto filed its motion and did not file
oppositions. The motion is therefore deemed moot as to them.


                                                  2
      Case 3:16-md-02741-VC           Document 20370          Filed 03/20/25      Page 3 of 4




opinion the expert is offering and the material the opinion is based on. The deposition is the time

to seek elaboration from the expert on whether they considered particular issues or studies in

reaching their opinion, how they resolved any inconsistencies in the literature, whether they are

sufficiently familiar with the material to reach the conclusions they reached, and how they might

respond to any particular critiques of their analysis.

       To be sure, there may be cases where a report is so deficient that it fails on its own terms.

For example, imagine a report that said, “I believe Roundup is capable of causing NHL for

exactly the reasons stated in the Zhang paper.” That would require exclusion because, as the

Court has previously explained, the Zhang paper is junk science. But Levin’s report does not rise

nearly to that level. It puts Monsanto on notice of the opinion being offered and the basis for it.

The report is certainly rather sparse and somewhat eyebrow raising, but that’s why we have

expert depositions—to probe potential weaknesses in the expert’s opinion and to pin the expert

down on their position.

       For their part, in opposition to Monsanto’s motion, the plaintiffs did submit some

excerpts of Levin’s deposition testimony. These excerpts reveal a further problem. Monsanto’s

counsel conducted the deposition as if it were a cross examination at trial, asking a seemingly

endless series of yes-or-no questions that were designed to elicit concessions from Levin. That’s

fine for trial—you put those concessions together and explain at closing argument why the jury
should reject the expert’s opinion. But at deposition, the main point is to pin the expert down.

And you can’t pin them down if you don’t give them a chance to explain their position. The fact

that Levin was barely invited to address the potential flaws in his analysis (at least in the

deposition excerpts submitted in connection with this motion) is another, related reason to deny

Monsanto’s motion to exclude his testimony.

       Perhaps at trial Levin’s discussion of McDuffie, Andreotti, Pahwa, and the other

epidemiological literature will be so inadequate as to prompt the judge to order the jury to

disregard it, or to enter judgment as a matter of law in Monsanto’s favor. Perhaps Levin will
demonstrate that he doesn’t understand Tomasetti’s important contribution on the role of natural


                                                  3
      Case 3:16-md-02741-VC           Document 20370         Filed 03/20/25      Page 4 of 4




replication errors, which may also require his testimony to be thrown out after the fact. But in the

context of this MDL, Monsanto cannot expect to succeed in excluding witnesses pretrial (or even

in getting a Daubert hearing) without presenting and discussing the deposition testimony

thoroughly, or without conducting a deposition in which the expert received an opportunity to

discuss any potential flaws in their analysis.

       For all these reasons, the motion to exclude Levin’s opinion is denied.

       IT IS SO ORDERED.

Dated: March 20, 2025
                                                 ______________________________________
                                                 VINCE CHHABRIA
                                                 United States District Judge




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